Case 1:19-md-02875-RMB-SAK   Document 2663-6   Filed 02/26/24   Page 1 of 12
                             PageID: 98253




                        Exhibit 5
Case 1:19-md-02875-RMB-SAK   Document 2663-6   Filed 02/26/24   Page 2 of 12
                             PageID: 98254
Case 1:19-md-02875-RMB-SAK   Document 2663-6   Filed 02/26/24   Page 3 of 12
                             PageID: 98255
Case 1:19-md-02875-RMB-SAK   Document 2663-6   Filed 02/26/24   Page 4 of 12
                             PageID: 98256
Case 1:19-md-02875-RMB-SAK   Document 2663-6   Filed 02/26/24   Page 5 of 12
                             PageID: 98257
Case 1:19-md-02875-RMB-SAK   Document 2663-6   Filed 02/26/24   Page 6 of 12
                             PageID: 98258
Case 1:19-md-02875-RMB-SAK   Document 2663-6   Filed 02/26/24   Page 7 of 12
                             PageID: 98259
Case 1:19-md-02875-RMB-SAK   Document 2663-6   Filed 02/26/24   Page 8 of 12
                             PageID: 98260
Case 1:19-md-02875-RMB-SAK   Document 2663-6   Filed 02/26/24   Page 9 of 12
                             PageID: 98261
Case 1:19-md-02875-RMB-SAK   Document 2663-6   Filed 02/26/24   Page 10 of 12
                              PageID: 98262
Case 1:19-md-02875-RMB-SAK   Document 2663-6   Filed 02/26/24   Page 11 of 12
                              PageID: 98263
Case 1:19-md-02875-RMB-SAK   Document 2663-6   Filed 02/26/24   Page 12 of 12
                              PageID: 98264
